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                      UNITED STATES DISTRICT COURT                       QCT 2 3 2018
                         DISTRICT OF SOUTH DAKOTA                       ^
                             NORTHERN DIVISION



  In the Matter of the Search Regarding: No.        A /e-rmyiS
  18-109-01                                AFFIDAVIT IN SUPPORT OF
                                           SEARCH WARRANT
                                           APPLICATION "REDACTED"



      I, Daniel A. Orr, being first duly sworn, hereby depose and state as follows:

                INTRODUCTION AND AGENT BACKGROUND

      1.    I make this affidavit in support of an application for a search warrant

for information associated with Facebook usernames

l^lll that are stored at premises owned, maintained, controlled, or operated by
Facebook, Inc. ("Facebook"), a social networking company headquartered in

Menlo Park, California. The information to be searched is described in the

following paragraphs and in Attachment A. This affidavit is made in support of

an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A)

and 2703(c)(1)(A) to require Facebook to disclose to the government records and

other information in its possession, pertaining to the subscriber or customer

associated with the user name.

      2.    I am a "federal law enforcement officer" within the meaning of

Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent

engaged in enforcing the criminal laws, and am duly authorized by the Attorney

General to request a search warrant.       I am currently assigned to the FBI

Aberdeen Resident Agency of the FBPs Minneapolis Field Office, and have been
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since January of 2004. Prior to that time, I was assigned to the FBI Phoenix

Division where I was assigned to the Bank Fraud Task Force. I was in the FBI

Phoenix Division for approximately six years. During my time as a special agent,

I have assisted with numerous investigations and used various investigative

techniques, such as electronic and physical surveillance, interviews of witnesses

and defendants, the execution of search warrants, and the use of confidential

informants related to said investigations.

      3.     The facts in this affidavit come from my personal observations,

training and experience, and information obtained from other agents and

witnesses. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant and does not set forth all of my

knowledge about this matter.

      4.     Based on my training and experience and the facts as set forth in

this affidavit, there is probable cause to believe that criminal acts of Assault with

Intent to Commit Murder, Kidnapping, Assault With A Dangerous Weapon,

Assault Resulting in Serious Bodily Injury, and Aiding and Abetting in violation

of 18 U.S.C. §§2, 1153, 1201, 113(a)(1), (a)(3), and (a)(6) were committed by

Tiffany Hope Bernard, Brendon Javon Jacob Rodlund, Andrew Renville, and

Randall Delbert Pumpkinseed. There is also probable cause to search the

information described in Attachment A for evidence of the crime.




                                        [2]
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                               PROBABLE CAUSE


      5.     The Federal Bureau of Investigation (FBI) is investigating the

kidnapping, assault with intent to commit murder, assault with a dangerous

weapon, and assault resulting in serious bodily injuiy of Josue Alaniz, a Hispanic

male who was found beaten and left for dead near Dry Wood Lake near Sisseton,

South Dakota. He had multiple skull and facial fractures and had the letters

"MC" carved into his chest.     When found, Alaniz said three men had been

involved in his assault. Shortly thereafter, Alaniz went unconscious and slipped

into a coma. The criminal acts occurred on tribal land on the Lake Traverse

Reservation in the State and District of South Dakota.          The victim was

hospitalized and fought for his life for several weeks before regaining

consciousness.     The FBI first became informed of the alleged crimes after a

fisherman, Donald Rustland, discovered the victim and contacted law

enforcement. Local law enforcement called the FBI Aberdeen Resident Agency

on the day the victim was discovered, November 17, 2015, to report the details

surrounding the assault and kidnapping. At that point, an investigation was

initiated and it is ongoing.

      6.     At the inception of the investigation, concerned family and

associates of the victim contacted law enforcement and reported that Alaniz had

been in Watertown, South Dakota, the day prior to being discovered near Dry

Wood Lake. The last person he was seen with was Tiffany Bernard, an Indian

female and member of the Sisseton-Wahpeton Oyate Sioux Tribe, who reportedly

begged Alaniz for a ride to her home near Sisseton, South Dakota.



                                      [3]
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      7.    On the day Alaniz was discovered near death, Alaniz's relative called

his cellular telephone and was surprised when Tiffany Bernard, having

possession of Alaniz's mobile phone, answered the call. Alaniz's relative reported

this telephone conversation to the tribal police. Tribal law enforcement than

called Bernard and asked Bernard why she had the victim's cell phone. Bernard

admitted that she had the phone but claimed she sold it for a small amount of

money to a man by the last name of Barse.

      8.    On November 17, 2015, Alaniz's supervisor told law enforcement

that Alaniz called him the night before and told him he was with a "crazy woman"

who had taken control of his vehicle. She took the keys to his car and went

inside a store while he remained in the car. Alaniz informed his supervisor that

he was going to be late for his shift at work. More importantly, Alaniz told his

supervisor that he was not sure where he was and that he feared something bad

was going to happen to him.

      9.    On November 17, 2015, Bernard fled the Lake Traverse Indian

Reservation after she hired a ride from Douglas Livingston II, who drove her

through the night to Montevideo, Minnesota. Livingston II is the husband of

Bernard's friend. Brandy Genia.

      10.   On November 19, 2015, Genia was interviewed and told law

enforcement that when Bernard arrived at her house, she admitted she got a ride

from a Mexican man. She also admitted she stole the man's cellular telephone

and sold it. As they were talking, Bernard broke down ciying and spontaneously

uttered, "I fucked up! I'm probably going to prison."



                                      [4]
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      11.      During t±ie investigation, rumors circulated that Bernard's cousin,

Cameron Marks, was involved in the assault of Alaniz. On January 22, 2016,

Marks was interviewed and told law enforcement that on around the night of

November 16, 2015, he received a telephone call from Bernard who told him she

was at the Coffee Cup Truck Stop in Summit, South Dakota, with a Mexican who

had assaulted her and robbed her. Bernard asked Marks if he could get some

people together so she could bring the Mexican to him and they could assault

him in retaliation. Marks told Bernard he did not want to become involved. He

denied participation in the assault of Alaniz.

      12.      Tiffany Bernard was interviewed twice concerning her involvement

in the assault of Alaniz. While she admitted getting a ride from him from

Watertown to Agency Village, South Dakota, she claimed she got out of his car

and he drove away after dropping her off. She denied having anything to do with

his assault.

      13.      On May 11, 2017, Bernard contacted law enforcement through her

attorney while she was in the Women's Prison in Pierre, South Dakota. Bernard

advised she wanted to provide information, through a proffer agreement,

concerning the assault of Josue Alaniz. During the interview, Bernard admitted

she got a ride from Josue Alaniz from Watertown and claimed they drove to

Agency Village.     She advised that she went inside to charge her cellular

telephone. While inside, Bernard saw Brendon Rodlund, a known drug dealer,

and asked if he had any methamphetamine she could buy.              According to

Bernard, Rodlund told her to meet him at Diy Wood Lake and he would sell her



                                        [5]
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the drugs she wanted.

      14.   Bernard claimed that she drove Alaniz's car to Dry Wood Lake and

waited for Rodlund. A short time later, a pickup pulled up and three men got

out and immediately pulled Alaniz out of the car and began assaulting him

violently. The three assailants beat Alaniz with their closed fists, kicked, and

stomped on him while he was on the ground. Bernard claimed she did not

participate in the beating. Bernard said the three assailants were Brendon Javon

Jacob Rodlund, Randall Delbert Pumpkinseed, and Andrew Renville.

      15.   After the violent assault of Alaniz, Rodlund told Bernard to get into

the truck with them. While in the truck, Renville asked Rodlund if Alaniz was

still alive. Rodlund responded,"He's still breathing."

      16.   The interviewing agents asked Bernard if she knew of anything being

carved into Alaniz's chest. She paused and said, "Mop City." She elaborated

that during the assault the assailants were amped up. Rodlund carved "MO"

into Alaniz's chest. The letters "MC" stood for "Mop City" implying they "mopped

him (Alaniz) up" in the beating.

      17.   Video surveillance from the convenience store in Agency Village on

the evening of 11/16/2015 showed Bernard pull up in Alaniz's vehicle. She was

driving the vehicle. She went inside while he waited outside. Alaniz could be

seen outside with his car. Bernard went to the back of the store and plugged

chargers into the wall to charge cellular telephones. While inside, Rodlund is

seen and appears to briefly interact with Bernard. He then leaves the store.




                                      [6]
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      18.    On October 4, 2017, Brendon Rodlund was interviewed at the

Roberts County Jail. During the interview, Rodlund was aware that he was

under investigation for an alleged sexual assault of a young woman at Dry Wood

Lake. He declined to speak to the investigating agent invoking his right to

counsel. Nothing was said during this interaction regarding Alaniz, the victim of

the physical assault.

      19.   On Januaiy 25, 2018, an Amazon Kindle Fire Tablet was received

from Sisseton-Wahpeton Sioux Tribal Councilman Francis Crawford. Crawford's

daughter, Maycee Crawford, owned the Kindle Fire but sold it to her uncle,

Donald Redowl. Redowl saw Maycee's Facebook Messenger was open on the

device and came across an exchange of messages between Maycee and Brendon

Rodlund. The conversation took place on 10/22/2017 at 10:55 PM. Rodlund

writes,"5 month treatment an prob go to the Fed joint after I'm lookin at attempt

murder on a Mexican I mopped up I guess I fucked him up pree good fbi barely

let me come Fml I'll be ight (alright) tho It's only 7-14 in Feds for attempted

murder".


      20.   Through the training and experience of your Affiant, it is probable

that communication between Rodlund and Maycee Crawford will be present in

the Facebook accounts of both. However, your Affiant is also aware that it is not

the common practice of Facebook to store deleted communications on their

messenger account. It is probable that, in addition to the direct communication

between Rodlund and Crawford, there will be various pictures, wall posts, and

other conversations with other witnesses that will be material to the ongoing


                                      [7]
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investigation and will corroborate timeliness and the victim's statements, and

that such information will be present on the Facebook user accounts of Rodlund

and Maycee. It is probable, as well, that other conversations will take place

between Rodlund, Andrew Renville, and Randall Delbert Pumpkinseed.

      21.    An open records search of publicly available information revealed

that Maycee Crawford has two Facebook user names:

^H|[ with profile IDs of                                         respectively.   A
preservation letter was previously submitted to Facebook to preserve the sought

communiques.       Facebook provided a case number associated with the

preservation of Crawford's accounts as FB case #|
      22.   Facebook owns and operates a free-access social networking website

of the same name that can be accessed at http://www.Facebook.com. Facebook

allows its users to establish accounts with Facebook, and users can then use

their accounts to share written news, photographs, videos, and other information

with other Facebook users, and sometimes with the general public.

      23.   Facebook asks users to provide basic contact and personal

identifying information to Facebook, either during the registration process or

thereafter. This information may include the user's full name, birth date, gender,

contact e-mail addresses, Facebook passwords, Facebook security questions and

answers (for password retrieval), physical address (including city, state, and zip

code), telephone numbers, screen names, websites, and other personal

identifiers. Facebook also assigns a user identification number to each account.




                                       [8]
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       24.   Facebook users mayjoin one or more groups or networks to connect

and interact with other users who are members of the same group or network.

Facebook assigns a group identification number to each group. A Facebook user

can also connect directly with individual Facebook users by sending each user a

"Friend Request." If the recipient of a "Friend Request" accepts the request, then

the two users will become "Friends" for purposes of Facebook and can exchange

communications or view information about each other. Each Facebook user's

account includes a list of that user's "Friends" and a "News Feed," which

highlights information about the user's "Friends," such as profile changes,

upcoming events, and birthdays.

      25.    Facebook users can select different levels of privacy for the

communications and information associated with their Facebook accounts. By

adjusting these privacy settings, a Facebook user can make information

available only to himself or herself, to particular Facebook users, or to anyone

with access to the Internet, including people who are not Facebook users. A

Facebook user can also create "lists" of Facebook friends to facilitate the

application of these privacy settings. Facebook accounts also include other

account settings that users can adjust to control, for example, the types of

notifications they receive from Facebook.

      26.    Facebook users can create profiles that include photographs, lists

of personal interests, and other information. Facebook users can also post

"status" updates about their whereabouts and actions, as well as links to videos,

photographs, articles, and other items available elsewhere on the Internet.



                                      [9]
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Facebook users can also post information about upcoming "events," such as

social occasions, by listing the event's time, location, host, and guest list. In

addition, Facebook users can "check in" to particular locations or add their

geographic locations to their Facebook posts, thereby revealing their geographic

locations at particular dates and times. A particular user's profile page also

includes a "Wall," which is a space where the user and his or her "Friends" can

post messages, attachments, and links that will typically be visible to anyone

who can view the user's profile.

      27.    Facebook allows users to upload photos and videos, which may

include any metadata such as location that the user transmitted when s/he

uploaded the photo or video. It also provides users the ability to "tag" (i.e., label)

other Facebook users in a photo or video. When a user is tagged in a photo or

video, he or she receives a notification of the tag and a link to see the photo or

video. For Facebook's purposes, the photos and videos associated with a user's

account will include all photos and videos uploaded by that user that have not

been deleted, as well as all photos and videos uploaded by any user that have

that user tagged in them.

      28.    Facebook users can exchange private messages on Facebook with

other users. These messages, which are similar to e-mail messages, are sent to

the recipient's "Inbox" on Facebook, which also stores copies of messages sent

by the recipient, as well as other information. Facebook users can also post

comments on the Facebook profiles of other users or on their own profiles; such

comments are typically associated with a specific posting or item on the profile.



                                        [10]
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 In addition, Facebook has a Chat feature that allows users to send and receive

instant messages through Facebook. These chat communications are stored in

 the chat history for the account. Facebook also has a Video Calling feature, and

 although Facebook does not record the calls themselves, it does keep records of

 the date of each call.


       29.   If a Facebook user does not want to interact with another user on

Facebook, the first user can "block" the second user from seeing his or her

account.


       30.   Facebook has a "like" feature that allows users to give positive

feedback or connect to particular pages. Facebook users can "like" Facebook

 posts or updates, as well as webpages or content on third-party (i.e., non-

Facebook) websites.       Facebook users can also become "fans" of particular

Facebook pages.

       31.   Facebook has a search function that enables its users to search

Facebook for keywords, usernames, or pages, among other things.

       32.   Each Facebook account has an activity log, which is a list of the

user's posts and other Facebook activities from the inception of the account to

the present. The activity log includes stories and photos that the user has been

tagged in, as well as connections made through the account, such as "liking" a

Facebook page or adding someone as a friend. The activity log is visible to the

user but cannot be viewed by people who visit the user's Facebook page.




                                      [11]
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      33.    Facebook Notes is a blogging feature available to Facebook users,

and it enables users to write and post notes or personal web logs ("blogs"), or to

import their blogs from other services, such as Xanga, LiveJournal, and Blogger.

      34.   The Facebook Gifts feature allows users to send virtual "gifts" to

their friends that appear as icons on the recipient's profile page. Gifts cost money

to purchase, and a personalized message can be attached to each gift. Facebook

users can also send each other "pokes," which are free and simply result in a

notification to the recipient that he or she has been "poked" by the sender.

      35.   Facebook also has a Marketplace feature, which allows users to post

free classified ads. Users can post items for sale, housing,jobs, and other items

on the Marketplace.

      36.   In addition to the applications described above, Facebook also

provides its users with access to thousands of other applications ("apps") on the

Facebook platform.     When a Facebook user accesses or uses one of these

applications, an update about that the user's access or use of that application

may appear on the user's profile page.

      37.   Facebook uses the term "Neoprint" to describe an expanded view of

a given user profile. The "Neoprint" for a given user can include the following

information from the user's profile:     profile contact information; News Feed

information; status updates; links to videos, photographs, articles, and other

items; Notes; Wall postings; friend lists, including the friends' Facebook user

identification numbers; groups and networks of which the user is a member,

including the groups' Facebook group identification numbers; future and past


                                       [12]
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 event postings; rejected "Friend" requests; comments; gifts; pokes; tags; and

information about the user's access and use of Facebook applications.

       38.   Facebook also retains Internet Protocol ("IP") logs for a given user ID

 or IP address. These logs may contain information about the actions taken by

the user ID or IP address on Facebook, including information about the type of

action, the date and time of the action, and the user ID and IP address associated

 with the action. For example, if a user views a Facebook profile, that user's IP

log would reflect the fact that the user viewed the profile, and would show when

and from what IP address the user did so.

      39.    Social networking providers like Facebook typically retain additional

information about their users' accounts, such as information about the length

of service (including start date), the types of service utilized, and the means and

source of any payments associated with the service (including any credit card or

bank account number). In some cases, Facebook users may communicate

directly with Facebook about issues relating to their accounts, such as technical

problems, billing inquiries, or complaints from other users. Social networking

providers like Facebook typically retain records about such communications,

including records of contacts between the user and the provider's support

services, as well as records of any actions taken by the provider or user as a

result of the communications.

      40.    As explained herein, information stored in connection with a

Facebook account may provide crucial evidence of the "who, what, why, when,

where, and how" of the criminal conduct under investigation, thus enabling the



                                       [13]
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United States to establish and prove each element or alternatively, to exclude

the innocent from further suspicion. In my training and experience, a Facebook

user's "Neoprint," IP log, stored electronic communications, and other data

retained by Facebook, can indicate who has used or controlled the Facebook

account. This "user attribution" evidence is analogous to the search for "indicia

of occupanc}^ while executing a search warrant at a residence. For example,

profile contact information, private messaging logs, status updates, and tagged

photos (and the data associated with the foregoing, such as date and time) may

be evidence of who used or controlled the Facebook account at a relevant time.

Further, Facebook account activity can show how and when the account was

accessed or used. For example, as described herein, Facebook logs the Internet

Protocol (IP) addresses from which users access their accounts along with the

time and date. By determining the physical location associated with the logged

IP addresses, investigators can understand the chronological and geographic

context of the account access and use relating to the crime under investigation.

Such information allows investigators to understand the geographic and

chronological context of Facebook access, use, and events relating to the crime

under investigation. Additionally, Facebook builds geo-location into some of its

services. Geo-location allows, for example, users to "tag" their location in posts

and Facebook "friends" to locate each other. This geographic and timeline

information may tend to either inculpate or exculpate the Facebook account

owner. Last, Facebook account activity may provide relevant insight into the

Facebook account owner's state of mind as it relates to the offense under



                                      [14]
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investigation. For example, information on the Facebook account may indicate

 the owner's motive and intent to commit a crime (e.g., information indicating a

 plan to commit a crime), or consciousness of guilt (e.g., deleting account

information in an effort to conceal evidence from law enforcement).

       41.    Therefore, the computers of Facebook are likely to contain all the

 material described above, including stored electronic communications and

information concerning subscribers and their use of Facebook, such as account

access information, transaction information, and other account information.

       INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       42.    I   anticipate   executing   this   warrant    under    the   Electronic

Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A)

and 2703(c)(1)(A), by using the warrant to require Facebook to disclose to the

government copies of the records and other information (including the content

of communications) particularly described in Section I of Attachment B. Upon

receipt of the information described in Section I of Attachment B, government-

authorized persons will review that information to locate the items described in

Section II of Attachment B.


                                   CONCLUSION


      43.    Based on the forgoing, I request that the Court issue the proposed

search warrant.

      44.    This Court has jurisdiction to issue the requested warrant because

it is "a court of competentjurisdiction" as defined by 18 U.S.C.§ 2711. 18 U.S.C.

§§ 2703(a), (b)(1)(A) 85 (c)(1)(A). Specifically, the Court is "a district court of the



                                         [15]
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United States .. . that - has jurisdiction over the offense being investigated." 18

U.S.C. § 2711(3)(A){i).

      45.    Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement

officer is not required for the service or execut^p of this war;;ant.

                                                                    YAh
                                      Daniel A. v^r, Special Agent
                                      Federal Bureau of Investigation

Subscribed and sworn to before me this                          r, 2018.


                                                                djL^
                                        ^ILLIAM D. GEmFS
                                      UNITED STATES^AGISTRATE JUDGE




                                       [16]
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                       ATTACHMENT A "REDACTED"



                          Property to be Searched


      This warrant applies to information associated with the Facebook

usernames                       profile ID                 and         profile

ID               that is stored at premises owned, maintained, controlled, or

operated by Facebook Inc., a company headquartered in Menlo Park, California.
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                      ATTACHMENT B "REDACTED"

                      Particular Things to be Seized
I.    Information to be disclosed by Facebook
      To the extent that the information described in Attachment A is

 within the possession, custody, or control of Facebook Inc. ("Facebook"),
including any messages, records, files, logs, or information that have been
 deleted but are still available to Facebook, or have been preserved
 pursuant to a request made under 18 U.S.C. § 2703(f], Facebook is
required to disclose the following information to the government for the
user ID listed in Attachment A:

      (a)   All contact and personal identifying information, including: full
            name, user identification number, birth date, gender, contact
            e-mail addresses, Facebook passwords, Facebook security
            questions and answers, physical address (including city, state,
            and zip code), telephone numbers, screen names, websites,
            and other personal identifiers,
      (b)   All activity logs for the account and all other documents
            showing the user's posts and other Facebook activities;
      (c)   All photos and videos uploaded by that user ID and all photos
            and videos uploaded by any user that have that user tagged in
            them;
      (d)   All profile information; News Feed information; status updates;
            links to videos, photographs, articles, and other items; Notes;
            Wall postings; friend lists, including the friends'Facebook user
            identification numbers; groups and networks of which the user
            is a member, including the groups' Facebook group
            identification numbers; future and past event postings;
            rejected "Friend" requests; comments; gifts; pokes; tags; and
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            information about the user's access and use of Facebook

            applications;
      (e)   All other records of communications and messages made or
            received by the user, including all private messages, chat
            history, video calling history, and pending "Friend" requests;
      (fl   All "check ins" and other location information;
      (g)   All IP logs, including all records of the IP addresses that logged
            into the account;
      (h)   All records of the account's usage of the "Like" feature,
            including all Facebook posts and all non-Facebook webpages
            and content that the user has "liked";
      (i)   All information about the Facebook pages that the account is
            or was a "fan" of;
      (j)   All past and present lists of friends created by the account;
      (k)   All records of Facebook searches performed by the account;
      (1)   All information about the user's access and use of Facebook
            Marketplace;
      (m) The types of service utilized by the user;
      (n)   The length of service (including start date) and the means and
            source of any payments associated with the service (including
            any credit card or bank account number);
      (o)   All privacy settings and other account settings, including
            privacy settings for individual Facebook posts and activities,
            and all records showing which Facebook users have been
            blocked by the account;
     (p)    All records pertaining to communications between Facebook
            and any person regarding the user or the user's Facebook
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            account, including contacts with support services and records
            of actions taken.

II.   Information to be seized by the government
      All information described above in Section I that constitutes fruits,
evidence and instrumentalities of violations of 18 U.S.C. §§ 2, 1153, 1201,
 113(a)(1), (a)(3), and (a)(6), which criminalize the kidnapping and
aggravated assault of Josue Alaniz, involving Tiffany Hope Bernard,
Brendon Rodlund, Andrew Renville, and Randall Pumpkinseed since
October 21, 2017, including, for the usernames identified on Attachment
A, information pertaining to the following matters:
         (a) Evidence indicating how and when the Facebook account was
            accessed or used, to determine the chronological and
            geographic context of account access, use, and events relating
            to the crime under investigation and to the Facebook account
            owner;

         (b)Evidence indicating the Facebook account owner's state of
            mind as it relates to the crime under investigation;
         (c) The identity of the person(s) who created or used the user ID,
            including records that help reveal the whereabouts of such
            person(s).
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                                                                     HLED
                       UNITED STATES DISTRICT COURT                    OCT 2 3 2018
                            DISTRICT OF SOUTH DAKOTA
                               NORTHERN DIVISION




  In the Matter of the Search Regarding No. /■ IS my 15
   18-109 01                               APPLICATION FOR SEARCH AND
                                          SEIZURE WARRANT "REDACTED"




      I, Daniel A. Orr, being duly sworn depose and say:

       I am a Special Agent with the Federal Bureau of Investigation (FBI), and
have reason to believe that within the Facebook account of Maycee Crawford,
fully described in Attachment A, attached hereto and incorporated herein by
reference, hereinafter referred to as "SUBJECT ACCOUNT," in the District of
South Dakota, there is now concealed certain property, namely that fully
described in Attachment B, attached hereto and incorporated herein by
reference, which 1 believe is property constituting evidence of the commission of
criminal offenses, contraband, the fruits of crime, or things otherwise criminally
possessed, or property designed or intended for use or which is or has been used
as the means of committing criminal offenses, concerning violations of Title 18
United States Code §§ 2, 1153, 1201, 113(a)(1), (a)(3), and a(6).

      The facts to support a finding of Probal^ Cause are contained in my
Affidavit filed herewith.




                                     Daniel A. Orr, Special Agent
                                     Federal Bureau of Investigation

      Sworn to before me, and subscribe^ in^y presence on^e 23 . day of
October, 2018, at S^^^^lls, South D;

                                     WILLIAM D. GERpES
                                     UNITED STATES MAGISTRATE JUDGE
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                       ATTACHMENT A "REDACTED"



                           Property to be Searched


      This warrant applies to information associated with the Facebook

 usernames                      profile ID                  and        profile

ID               that is stored at premises owned, maintained, controlled, or

 operated by Facebook Inc., a company headquartered in Menlo Park, California.
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                      ATTACHMENT B "REDACTED"

                      Particular Things to be Seized
I.    Information to be disclosed by Facebook
      To the extent that the information described in Attachment A is

 within the possession, custody, or control of Facebook Inc. ("Facebook"),
including any messages, records, files, logs, or information that have been
 deleted but are still available to Facebook, or have been preserved
 pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is
required to disclose the following information to the government for the
user ID listed in Attachment A:

      (a)   All contact and personal identifying information, including: full
            name, user identification number, birth date, gender, contact
            e-mail addresses, Facebook passwords, Facebook security
            questions and answers, physical address (including city, state,
            and zip code), telephone numbers, screen names, websites,
            and other personal identifiers.
      (b)   All activity logs for the account and all other documents
            showing the user's posts and other Facebook activities;
      (c)   All photos and videos uploaded by that user ID and all photos
            and videos uploaded by any user that have that user tagged in
            them;
      (d)   All profile information; News Feed information; status updates;
            links to videos, photographs, articles, and other items; Notes;
            Wall postings; friend lists, including the friends'Facebook user
            identification numbers; groups and networks of which the user
            is a member, including the groups' Facebook group
            identification numbers; future and past event postings;
            rejected "Friend" requests; comments; gifts; pokes; tags; and
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            information about the user's access and use of Facebook

            applications;
      (e)   All other records of communications and messages made or
            received by the user, including all private messages, chat
            history, video calling history, and pending "Friend" requests;
      (f)   All "check ins" and other location information;
      (g)   All IP logs, including all records of the IP addresses that logged
            into the account;
      (h)   All records of the account's usage of the "Like" feature,
            including all Facebook posts and all non-Facebook webpages
            and content that the user has "liked";
      (i)   All information about the Facebook pages that the account is
            or was a "fan" of;
      (j)   All past and present lists of friends created by the account;
      (k)   All records of Facebook searches performed by the account;
      (1)   All information about the user's access and use of Facebook
            Marketplace;
      (m) The types of service utilized by the user;
      (n)   The length of service (including start date) and the means and
            source of any payments associated with the seiwice (including
            any credit card or bank account number);
      (o)   All privacy settings and other account settings, including
            privacy settings for individual Facebook posts and activities,
            and all records showing which Facebook users have been
            blocked by the account;
      (p)   All records pertaining to communications between Facebook
            and any person regarding the user or the user's Facebook
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            accoimt, including contacts with support services and records
            of actions taken.

II.   Information to be seized by the government
      All information described above in Section I that constitutes fruits,
evidence and instrumentalities of violations of 18 U.S.C. §§ 2, 1153, 1201,
113(a)(1), (a)(3), and (a)(6), which criminalize the kidnapping and
aggravated assault of Josue Alaniz, involving Tiffany Hope Bernard,
Brendon Rodlund, Andrew Renville, and Randall Pumpkinseed since
October 21, 2017, including, for the usernames identified on Attachment
A, information pertaining to the following matters:
         (a)Evidence indicating how and when the Facebook account was
            accessed or used, to determine the chronological and
            geographic context of account access, use, and events relating
            to the crime under investigation and to the Facebook account
            owner;

         (b)Evidence indicating the Facebook account owner's state of
            mind as it relates to the crime under investigation;
         (c) The identity of the person(s) who created or used the user ID,
            including records that help reveal the whereabouts of such
            person(s).
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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                               NORTHERN DIVISION




  In the Matter of the Search Regarding No.        A
   18-109-01                               SEARCH AND SEIZURE WARRANT
                                          "REDACTED"




TO:     ANY AUTHORIZED LAW ENFORCEMENT OFFICER

       An application by a federal law enforcement officer or an attorney for the
government requests the search of the Facebook account of Maycee Crawford,
fully described in Attachment A, attached hereto and incorporated herein by
reference, hereinafter referred to as "SUBJECT ACCOUNT."

        I find that the affidavit, or any recorded testimony, establish probable
cause to search the SUBJECT ACCOUNT, and that such search will reveal
evidence of violations of violations of Title 18 United States Code §§ 2, 1153,
1201, 113(a)(1), (a)(3), and a(6), namely: that fully described in Attachment B,
attached hereto and incorporated herein by reference.

 '/     YpU ARE COMMANDED to execute this warrant on or before
             (p 2fC>/2>           (not to exceed 14 days)
  in the daytime - 6:00 a.m. to 10:00 p.m.
□ at any time in the day or night asI find reasonable cause has been established.

      Unless delayed notice is authorized below, you must give a copy of the
warrant and a receipt for the property taken to the person from whom, or from
whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

     The officer executing this warrant, or an officer present during the
execution of the warrant, must prepare an inventory as required by law and
promptly return this warrant and inventory to the undersigned Judge.

     □ P^jrsuanJr to 18 U.S.C. ^31^a(b), I find that immediate notification
may have anWv^se result list^       U.S.C. § 2705 (except for delay of trial),
and authorize the officer|XxeKmfcgymis warrant to delay notice to the person
who, or whose nfbperty, will              or seized,
□ for          days^ot to\psc0^taO). \
□ until, the facts ju^fying, theJater sp^ific date of                     .
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QcUkcy            7<^
 Date and Time Issued
                               Pa at Aberdee/r, South Dakota




                                     [LLIAM D. G^IpES
                                    UNITED STATEs4iAGISTRATE JUDGE




                                     [2]
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                       ATTACHMENT A "REDACTED"



                          Property to be Searched


      This warrant applies to information associated with the Facebook

usernames                       profile ID                 and         profile

ID               that is stored at premises owned, maintained, controlled, or

operated by Facebook Inc., a company headquartered in Menlo Park, California.
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                      ATTACHMENT B "REDACTED"

                      Particular Things to be Seized
I.    Information to be disclosed by Facebook
      To the extent that the information described in Attachment A is

 within the possession, custody, or control of Facebook Inc. ("Facebook"),
including any messages, records, files, logs, or information that have been
 deleted but are still available to Facebook, or have been preserved
 pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is
required to disclose the following information to the government for the
user ID listed in Attachment A:

      (a)   All contact and personal identifying information, including: full
            name, user identification number, birth date, gender, contact
            e-mail addresses, Facebook passwords, Facebook security
            questions and answers, physical address (including city, state,
            and zip code), telephone numbers, screen names, websites,
            and other personal identifiers.
      (b)   All activity logs for the account and all other documents
            showing the user's posts and other Facebook activities;
      (c)   All photos and videos uploaded by that user ID and all photos
            and videos uploaded by any user that have that user tagged in
            them;
      (d)   All profile information; News Feed information; status updates;
            links to videos, photographs, articles, and other items; Notes;
            Wall postings; friend lists, including the friends'Facebook user
            identification numbers; groups and networks of which the user
            is a member, including the groups' Facebook group
            identification numbers; future and past event postings;
            rejected "Friend" requests; comments; gifts; pokes; tags; and
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            information about the user's access and use of Facebook

            applications;
      (e)   All other records of communications and messages made or
            received by the user, including all private messages, chat
            histoiy, video calling history, and pending "Friend" requests;
      (f)   All "check ins" and other location information;
      (g)   All IP logs, including all records of the IP addresses that logged
            into the account;
      (h)   All records of the account's usage of the "Like" feature,
            including all Facebook posts and all non-Facebook webpages
            and content that the user has "liked";
      (i)   All information about the Facebook pages that the account is
            or was a "fan" of;
      (j)   All past and present lists of friends created by the account;
      (k)   All records of Facebook searches performed by the account;
      (1)   All information about the user's access and use of Facebook
            Marketplace;
      (m) The types of service utilized by the user;
      (n)   The length of service (including start date) and the means and
            source of any payments associated with the service (including
            any credit card or bank account number);
      (o)   All privacy settings and other account settings, including
            privacy settings for individual Facebook posts and activities,
            and all records showing which Facebook users have been
            blocked by the account;
      (p)   All records pertaining to communications between Facebook
            and any person regarding the user or the user's Facebook
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            account, including contacts with support services and records
            of actions taken.

 11.   Information to be seized by the government
       All information described above in Section I that constitutes fruits,
 evidence and instrumentalities of violations of 18 U.S.C. §§ 2, 1153, 1201,
 113(a)(1), (a)(3), and (a)(6), which criminalize the kidnapping and
 aggravated assault of Josue Alaniz, involving Tiffany Hope Bernard,
Brendon Rodlund, Andrew Renville, and Randall Pumpkinseed since
 October 21, 2017, including, for the usernames identified on Attachment
A, information pertaining to the following matters:
         (a)Evidence indicating how and when the Facebook account was
            accessed or used, to determine the chronological and
            geographic context of account access, use, and events relating
            to the crime under investigation and to the Facebook account
            owner;

         (b)Evidence indicating the Facebook account ovraer's state of
            mind as it relates to the crime under investigation;
         (c) The identity of the person(s) who created or used the user ID,
            including records that help reveal the whereabouts of such
            person(s).
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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                     NORTHERN DIVISION



  In the Matter of the Search Reeardine      No.        /      "
  18-109-01                                  RETURN "REDACTED"




Date and time warrant executed:

Copy of warrant and inventory left with:

Inventory made in the presence of:

Inventory of the property taken and name of any person(s) seized (attach additional sheets,
if necessary):




                                      CERTIFICATION
I declare under penalty of perjury that this inventory is correct and was returned along
with the original warrant to the designated judge.

                                      Daniel A. Orr, Special Agent
                                      Federal Bureau of Investigation
